Case No. 1:14-cv-02830-RM-CBS Document 1-20 filed 10/17/14 USDC Colorado pg1of2
CM/ECF LIVE - U.S. District Court for the District of New Jersey Page 1 of 2

CLOSED

U.S. District Court

District of New Jersey [LIVE] (Trenton)
CIVIL DOCKET FOR CASE #: 3:14-cv-05358-FLW-LHG

CHANNEL METHODS PARTNERS, LLC v.

PHARMATECH, INC.
Assigned to: Judge Freda L. Wolfson

Referred to: Magistrate Judge Lois H. Goodman
Case in other court: SUPERIOR COURT OF NEW
JERSEY, MONMOUTH COUNTY,

MON L 2857 14

Cause: 28:1441 Notice of Removal- Breach of Contract

Plaintiff

CHANNEL METHODS
PARTNERS, LLC
a New Jersey limited liability company

V.
Defendant

PHARMATECH, INC.
a Colorado Corporation

Date Filed: 08/26/2014

Date Terminated: 10/16/2014

Jury Demand: Plaintiff

Nature of Suit: 190 Contract: Other
Jurisdiction: Diversity

represented by SEAN G. DEVERIN

JAHOS, BROEGE & SHAHEEN,
ESQS.

116 OCEANPORT AVENUE

PO BOX 248

LITTLE SILVER, NJ 07739
(732) 747-4419

LEAD ATTORNEY

ATTORNEY TO BE NOTICED

represented by MARITZA BRASWELL

Jones & Keller PC

1999 Broadway, Suite 3150
Denver, CO 80202

303-573-1600

Email: mbraswell@joneskeller.com
LEAD ATTORNEY

ATTORNEY TO BE NOTICED

Date Filed # | Docket Text

08/26/2014 1 | NOTICE OF REMOVAL by PHARMATECH, INC. from SUPERIOR COURT
OF NEW JERSEY, MONMOUTH COUNTY, case number MON L 2857 14.

( Filing and Admin fee $ 400 receipt number 5894258), filed by
PHARMATECH, INC.. (Attachments: # 1 Exhibit A, #2 Exhibit B, # 3 Exhibit
C, # 4 Exhibit D)(eaj) (Entered: 08/27/2014)

08/26/2014

IN

Corporate Disclosure Statement by PHARMATECH, INC. identifying NONE as
Corporate Parent.. (eaj) (Entered: 08/27/2014)

https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.p1?525232148284147-L_1 0-1 10/17/2014
Case No. 1:14-cv-02830-RM-CBS Document 1-20 filed 10/17/14 USDC Colorado pg 2of2

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09/02/2014

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MOTION to Dismiss or in the Alternative for a More Definite Statement and to
Transfer Venue by PHARMATECH, INC.. Responses due by 9/22/2014
(Attachments: # 1 Brief Ex A - Brief in Support, #2 Declaration Ex B -
Declaration of Maritza Dominguez Braswell, # 3 Exhibit Ex C - Contract, # 4
Declaration Ex D - Declaration of Robert Bohacs, # 5 Certificate of Service Ex E
- Certificate of Service, # 6 Text of Proposed Order Ex F - Proposed Order)
(BRASWELL, MARITZA) (Entered: 09/02/2014)

09/03/2014

Set Deadlines as to 3 MOTION to Dismiss or in the Alternative for a More
Definite Statement and to Transfer Venue. Motion set for 10/6/2014 before Judge
Freda L. Wolfson. The motion will be decided on the papers. No appearances
required unless notified by the court. (eaj) (Entered: 09/03/2014)

09/26/2014

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NOTICE of Voluntary Dismissal by CHANNEL METHODS PARTNERS, LLC
(Attachments: # 1 Cover Letter, # 2 Text of Proposed Order)(eaj) (Entered:
09/26/2014)

10/03/2014

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Letter from Pharmatech, Inc. in Opposition re 4 Notice of Voluntary Dismissal.
(Attachments: # 1 Exhibit A, #2 Certificate of Service)(BRASWELL,
MARITZA) (Entered: 10/03/2014)

10/16/2014

In

ORDER granting 3 Motion to Dismiss to the United States District Court for the
District of Colorado***CIVIL CASE TERMINATED. Signed by Judge Freda L.
Wolfson on 10/16/2014. (eaj) (Entered: 10/16/2014)

10/16/2014

Case electronically transferred to the United States District Court for the District
of Colorado. (dm ) (Entered: 10/16/2014)

10/16/2014

Text Minute Entry for proceedings held before Judge Freda L. Wolfson:
Telephone Conference held on 10/16/2014. (jg, ) (Entered: 10/17/2014)

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